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Exhibit 3
 

 

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LUCY CASTRO
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE NEURONTIN MARKETING . AND
SALES PRACTICES LITIGATION

MDL Docket No. 1629
Master File No., 04-10981
Judge Patti B. Saris
Magistrate Leo T. Sorokin

SUPREME COURT. OF THE STATE “ES
COUNTY OF NEW “¢
IN RE: NEW YORK neuRonTNeN
PRODUCTS LIABILITY “SO
Case Management
Index No. 765,000/ 6
Hon. Marcy S. € n

July 10, 2007
9:08 a.m.

see

 

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1350 Broadway * New York, NY 10018 * 212-564-8808

   

 

 
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42 44
1 LUCY CASTRO 1 LUCY CASTRO
2 answered, 2 Q. If40 percent of the physicians
3 MR. LEVIN: Okay. No reason to 3 surveyed -- sound like a match game now -- if 40
4 quibble. 4 percent of the physicians surveyed said that
5 MR. GUNTER: But she is free to give "ls they thought that Neurontin was indicated for
6 that same answer. 6 neuropathic pain based on the information that
7 A. Like I said, maybe they thought it was 7 they got, okay, what do you think you could do
8 already approved because it was effective for 8 to dispel this misimpression?
9 that, but we were appropriately marketing the 9 — MR. GUNTER: Objection, it is an
10 product and telling them what the indications | 10 incomplete hypothetical.
11 were at the time. 11 MR. LEVIN: You can answer.
12. Q. Ma'am, you told mea minute ago that [12 A. Like I said, we did a lot of
13 if the message that was getting out was wrong, | 13 corrective action. We -
14 that you thought that Pfizer ought tohavetodo [14 Q._ Tell —
13 something about it, do you recall that 15 A. Goahead.
16 testimony? 16 Q. I wasn't going to cut you off, I
17 A. That is incorrect. The statement is 17 thought you were done. Go ahead.
18 ifthe message was interpreted incorrectly. 18 <A. Yes. We insured that all our
19 Q. Fine. 19 materials were on label. We insured that for
20. A. But we were not providing a message | 20 Neurontin there was no WLF. We insured
21 that we were indicated for any type of 21 everything we could within what all the
22 neuropathic pain indication. We were on label | 22 practices our field and all our personnel
23 in terms of adjunctive epilepsy and all 23 actually that dealt with Neurontin, that it was
24 materials were in line with that indication. 24 all on label.
25 Q. Ma'am, my question is is that if 40 25  Q. Are you aware of any communication
43 45
1 LUCY CASTRO 1 . LUCY CASTRO
2 percent of the doctors in America say that we 2 whatsoever from Pfizer to the field force or to
3 thought based on the information that we got 3 the public in any manner, way, shape or form
4 that Neurontin was indicated for general 4 that said Neurontin is not FDA approved for
5 neuropathic pain, are you telling me that as a 5 general neuropathic pain?
6 person in the regulatory department of Pfizer, 6 A. Jam aware of training internally but
7 that's okay with you?. 7 nothing to the public.
8 MR. GUNTER: Objection. Again, it's 8 Q. Thank you. So if in fact the sales of
9 been asked and answered. 9 Neurontin going back to the Warner Lambert-Parke
10 MR. LEVIN: It's a different question. 10 Davis days were increased because of illegal
lI MR. GUNTER: Very vague, incomplete | 11 marketing practices, to your knowledge since you
12 hypothetical. 12 have been at Pfizer, there has been nothing done
13 MR. LEVIN: Fine. 13 to specifically address those and affirmatively
14. QQ. Youcan answer. 14 dispel the notion other than as far as you
15 A. Ifwe provided the appropriate 15 understand it staying within the label as you
16 materials that didn't have anything to do with 16 promote it today, is that fair?
17 neuropathic pain, then I'm fine with that. 17 MR. GUNTER: Objection as to the form
18 Q. Soifyou provided materials that had 18 of that question.
19 nothing to do with general neuropathic pain, you | 19 ‘MR. LEVIN: Youvarranswer.
20 would be okay with it? Okay. 20 A. Like I stated previously, we did not
21 Well, doesn't that incentivize your 21 doacommunication externally but we did do
22 company to come as close to the line as 22 training. We also -- the field force was only
23 possible? 23 allowed to detail to very specific physicians
24 MR. GUNTER: Objection, argumentative. | 24 that would be neurologists and epileptologists,
25. A. No, it doesn't. 25 and all internal training was on label, again.
12 (Pages 42 to 45)

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46 48
1 LUCY CASTRO 1 LUCY CASTRO
2 Q. What were the regulations that Warner 2  Q. That would be important to you as a
3 Lambert had with regard to detailing? 3 regulator, as somebody involved in the
4 MR. GUNTER: Objection, that's * 4 regulatory department, right?
5 getting -- calls for speculation. She never 5 A. Absolutely.
6 worked for Warner Lambert. 6  Q. Why would that be important?
7 A. Jam not aware of what their practices 7 <A. LikeI said, we wanted to make sure we
8 were. 8 are on label, and in fact that type of approach
9 QQ. You mentioned the acronym WLF. What | 9 was precleared with the FDA's DDMAC division.
10 is that? . 10 Q. But let's leave the FDA out of it for
11 <A. Washington Legal Foundation. 11 aminute. [just want to know from your
12. Q. You just mentioned that your field 12 standpoint as somebody from regulatory, that
13 force was only allowed to detail to certain type | 13 would be important to you, the PHN would be the
14 of physicians, do you recall that? 14 focus of the piece as opposed to pain?
15 A. Yes. 15 A. Absolutely.
16 Q. _ What type of physicians? 16 Q. Asaperson involved in regulatory, if
17 A. Neurologists, epileptologists. 17 somebody were to come to you and say here is a
18 Q. To your knowledge, then, Pfizer never 18 piece and it was primarily about pain and only a
19 marketed Neurontin to primary care physicians, | 19 little bit about PHN, what would you tell them?
20 is that correct? 20 A. That we couldn't approve that.
21 A. Wedid, once we got the PHN 21 Q. Why?
22 indication. 22 A. Because the focus has to be on label
23. Q. Once you marketed for PHN, younever |23 PHN.
24 mentioned general neuropathic pain inany way, {24 Q. Why does the focus have to be on PHN?
25 correct? 25 A. Because that's the indication
. 47 49
i LUCY CASTRO 1 LUCY CASTRO °
2 A. Interms of promoting for general 2 Neurontin was -- got from the FDA, so that's
3 neuropathic pain? 3 what we have to ~- we stay on label, we have to
4 Q. Yes. 4 focus on PHN.
5 A. No. 5  Q. I just want to make sure I understand.
6 Q. Okay. SoI won't see anything that 6 Ifthere was a promotional piece that was
7 would be directed to the public that mentions 7 primarily about pain and just a little bit
8 anything about general neuropathic pain? 8 about -- just sort of mentioned PHN, what would
9 MR. GUNTER: Objection. 9 be wrong with that?
10 A. There are pieces that have disease 10 A. Soifyou are asking about a disease
11 state information that start with providing 11 state piece, that is a different type of piece
12 context in terms of disease state so that PHN 12 as opposed to a branded piece that would have
13 can be understood. In general my understanding | 13 Neurontin on it?
14 from materials I haven't seen is that 14 Q. Yes. Okay. Let's talk about branded
15 neuropathic pain in general is under recognized, |15 pieces. Okay. Strike that. We'll move on.
16 under diagnosed, and certainly the lay public 16 Would you agree with me there is some
17 doesn't understand it well even to this day. So 17 tension between marketing and regulatory?
18 our materials gave very brief context and 18 A. I would like to think that we work
19 immediately went into PHN. 19 together, but, yes, I guess that is a good way
20 = Q. So it would be your understanding then | 20 of characterizing it.
21 that the primary focus of the terms that you are _|21  Q. And could you describe that tension?
22 aware of would have been PHN and other ‘122 <A. Well, I think that their goals are
23 neuropathic pain for context would just be a 23 different.
24 minor part of the - 24 Q. Could you explain that?
25 A. Very minor, yes. 25 <A. Iwantto make sure that we provide

 

 

13 (Pages 46 to 49)

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